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                                    UNITED STATES BANKRUPTCY COURT
                                       SOUTHERN DISTRICT OF OHIO
                                            EASTERN DIVISION

                                                          :    Case No. 04-60904
 In re:
                                                          :
    Columbus Microfilm, Inc.                              :    Chapter 7
                                                          :    Judge C. Kathryn Preston
       Debtor.                                            :


 HEARING MEMORANDUM OF FORMER CASE TRUSTEE REGARDING AMENDED
        MOTION TO REOPEN CASE TO ADMINISTER ESTATE ASSETS

             Comes now Larry J. McClatchey, the former chapter 7 case Trustee, to submit comments

 on the Amended Motion to Reopen Case filed by Angela R. Granata on March 11, 2016 [Doc.

 #349] (“Granata Motion”). Trustee will not be able to attend the July 21, 2016 hearing in person,

 so this Memorandum is provided for the Court’s consideration and as an aid to its deliberations.

             The Granata Motion is not well-grounded and it should be denied. Her argument seems to

 be based on her belief that someone other than herself is responsible for the unopposed sale of the

 Condo. If so, her belief is mistaken. Granata was the chief executive and responsible officer of

 the Debtor for over two years prior to the conversion of the case to proceeding under chapter 7 of

 the Bankruptcy Code. The material issues she now raises could have and should have been

 addressed by her and her counsel during the chapter 11 phase of the case, when all of the significant

 events occurred. It would be inequitable to other parties to reopen the case, and would result in a

 substantial waste of judicial resources.

             Moreover, because the chapter 7 estate was administratively insolvent at closing, even if

 there could be a net recovery from any of the “assets”, which is highly unlikely, the recovery would

 not benefit Granata. Any net recovery would go first to satisfy the remaining expenses of the

 chapter 7 case, then the unpaid administrative costs of the chapter 11 case, and only then would




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 funds be available to pay the priority claims against Debtor for which Granata may be personally

 responsible.

                                                 BACKGROUND FACTS

             Unizan Bank National Association filed a foreclosure case in the Franklin County Court of

 Common Pleas on March 5, 2004, Franklin County Court of Common Pleas Case No.: 04-CV-

 002600 (“Foreclosure Case”). Debtor, Granata, and her mother, Rose Granata, were among the

 defendants. Unizan obtained the appointment of a receiver, Reg Martin, of Martin Management,

 to assume control of Debtor’s business and liquidate its assets for the benefit of Unizan.

             On July 9, 2004, Columbus Microfilm, Inc. filed its petition initiating this case, seeking

 relief under chapter 11 of the Bankruptcy Code. Granata was the authorized representative and

 chief executive of CMI when the case was filed and remained so until the case was converted to a

 case under chapter 7.

             On November 8, 2004, a Notice of Bankruptcy was filed in the Foreclosure Case. Shortly

 thereafter, on November 24, 2004, John C. Stamatakos, Attorney at Law, filed Answers on behalf

 of Debtor and the Granatas in the Foreclosure Case.

             This court conducted a hearing beginning on August 31, 2004 and continuing September

 8th and September 15, 2004, on motions brought by the Receiver and Unizan to dismiss the

 Debtor’s petition, for abstention, for appointment of a chapter 11 trustee and to excuse turnover of

 property by the Receiver under 11 U.S.C. §543(d)(2). During the hearing, Granata testified about

 a residential condominium at 5680 Cainhill Lane, Hilliard, Ohio (“Condo”). Her testimony

 indicated that she had made personal payments on the Condo because she intended that her brother

 would live in the property. She also testified that the Debtor had made some payments. By order




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 dated September 17, 2004, this Court denied the Motions brought by the Receiver and Unizan

 [Doc. #39].

             On June 21, 2005, the Hearns, who owned the Condo, filed a Motion to Intervene in the

 Foreclosure Case to protect their interest as vendors under a land installment contract in which

 Debtor was the vendee.

             On July 22, 2005 the Hearns transferred the Condo to Debtor. Debtor immediately

 transferred the Condo to Charles A. Wemp.

             On February 7, 2006, an Agreed Entry was entered in the Foreclosure Case which approved

 payment of Receiver’s fees and fees of Receiver’s counsel from proceeds of the sale of the Condo.

 Since the sale proceeds from the Condo were insufficient to pay those claims in full, Unizan, as

 secured creditor and plaintiff, was required and ordered, with its consent, to make up the difference

 to satisfy costs of the Receiver and his counsel.

             On October 27, 2006, this Court entered its order converting the chapter 11 case to a case

 under chapter 7. Trustee was subsequently appointed. On March 29, 2007, over Granata’s

 objection, this Court approved the sale of the business assets of Debtor as a going concern. The

 sale price was insufficient to satisfy Unizan’s secured claim in full. Unizan nevertheless agreed

 to a “carve out” for the benefit of the estate in the amount of $50,000.00.

             When administration was concluded, the chapter 7 estate was determined to be

 administratively insolvent. Administrative expenses were paid approximately 50% of the expense

 amount and the balance is unpaid.

             Trustee filed his Final Account and the chapter 7 case was closed August 31, 2010.




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           I.             To Reopen This Case Would Be Inequitable and Wasteful

             It would be unfair to Reg Martin and creditors of the estate and wasteful of judicial

 resources to reopen the case now at Granata’s request. Because of her malfeasance during the

 chapter 11 phase of the case, she is solely responsible for the circumstances she now offers as

 justification of her request.

             The Condo was sold to a disinterested party on July 22, 2005, a full year after the chapter

 11 case was filed and Granata taken control of the business back from the state court appointed

 Receiver. Yet she and counsel for Debtor, Mr. Pettigrew, failed to amend the Schedules to disclose

 whatever interest the Debtor might have had in the Condo1. Moreover, there is no indication in

 the record of the Foreclosure Case that counsel for Granata and Debtor, Mr. Stamatakos, asserted

 any claim to the Condo as an asset of the Debtor before it was sold. Her failure to administer the

 Condo as an asset of the chapter 11 estate for a year after case was commenced is both inexplicable

 and inexcusable.

             It would be a waste of resources of the Court and interested parties to reopen the case

 because there is no meaningful chance of recovery of any of the “assets” Granata alleges to exist.

             First, the time for filing an action to set aside the transfer of the Condo expired July 22,

 2007, two years after the date of the transfer, 11 U. S. C. §549(d). Granata had over a year before

 conversion to bring an action to set aside the transfer of the Condo, but she neglected to do so.

             Second, the rights of Charles A. Wemp, and subsequent transferees of the Condo will

 undoubtedly prevail over any claim to avoid the transfer. Granata and counsel for Debtor failed

 to file a copy or notice of the chapter 11 petition in the Franklin County real property records.

 Unless such notice is filed, 11 U. S. C. §549(c) prevents a Trustee from avoiding an unauthorized


 1
  Indeed, Reg Martin provides evidence in his Supplement to Memorandum in Opposition filed July 14, 2016 [Doc.
 #357], that Mr. Pettigrew affirmatively released any interest of Debtor in the Condo before the sale to Wemp.


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 post-petition transfer of real property to a good faith purchaser without knowledge of the

 commencement of the case. There is no indication in the evidence produced by Granata that Wemp

 other than a good faith purchaser without notice.2

             Granata contends that the Condo is still an asset of the bankruptcy estate and there will be

 a perpetual “cloud on the title” if the case is not reopened to administer the alleged asset, Granata

 Motion, p. 31. However, she produces no evidence of any such encumbrance. Indeed, the

 evidence in records of the Franklin County Auditor and Recorder establish the opposite—there is

 no “cloud on the title” to the Condo. Charles A. Wemp, the initial transferee, sold the Condo on

 March 28, 2013 to Mohamed Fakhari. Mr. Fakhari then sold the Condo to Brittany Osbourne on

 October 3, 2013. The fact that there have been two subsequent sales of the Condo without the

 necessity of any action in this Court is compelling evidence that there is, in fact, no “cloud on the

 title”. There is simply no need to reopen the case to resolve this because there is no issue.

             Granata also suggests that this case should be reopened in order to allow pursuit of claims

 against the Receiver and/or his counsel to recover fees or damages. From the available record,

 however, such claims would be problematic and unlikely to have merit. The Franklin County

 Court of Common Pleas did approve the sale and authorize the payment of fees to the Receiver

 and his counsel. Consequently, it would be necessary to ask Court of Common Pleas to vacate its

 February 7, 2006 order before proceeding with claims to recover fees authorized by that court.

 Since the Agreed Entry is more than 10 years old, there is substantial doubt whether the Trustee




 2
   Moreover, the rights of a trustee to recover from the initial transferee and subsequent good faith transferees is
 strictly limited under 11 U. S. C. §550.


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 could meet the timeliness requirements of Ohio Civil Rule 60(B), which generally requires that a

 motion to set aside a judgment be brought within one year.3

             Aside from the Condo and the possible claim against the Receiver and his counsel, Granata

 suggests that the case should be reopened to pursue a judgment against Grady L. Pettigrew and an

 alleged claim against JT/SG Enterprises. Granata comes forward with no facts to suggest that the

 judgment against Grady L. Pettigrew is now collectible. Mr. Pettigrew is no longer a practicing

 attorney and the undersigned has no reason to believe that he has any ability to satisfy the

 judgment, even if it remains property of the bankruptcy estate.

             Granata incorrectly asserts that the claim against JT/SG Enterprises was not properly

 abandoned because of the absence of a court order approving the abandonment. There is no

 requirement for a court order approving proposed abandonment where notice of intent to abandon

 is given and there is no timely objection, See, LBR 6007-1(b).

             Over two years elapsed between Granata’s disclosure of the Condo in her testimony and

 the entry of the order converting the chapter 11 case to a case under chapter 7. Granata had ample

 opportunity to assert any grievance she or the Debtor may have had against Martin Management

 and Reg Martin prior to conversion. Therefore, it would be inequitable to reopen the case now at

 her request to assert the claims she failed to bring when she had the chance to do so,

              II.        Reopening the Case Will Not Benefit Granata

             It is apparent from the Amended Motion and numerous prior pleadings filed by Granata in

 this case that her primary grievance is the failure of the bankruptcy process to result in payment of

 certain debts for which she apparently has personal liability. However, reopening the bankruptcy



 3
  Even though Granata argues that the Agreed Entry is void because it was entered in violation of the automatic stay,
 at this juncture it must be presumed that the Franklin County Court of Common Pleas believed it had jurisdiction
 over the Condo when it approved the sale and payment of fees. The court had notice of the bankruptcy of Debtor.


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 case will likely not result in any relief to her, even if her malfeasance during the chapter 11 phase

 of the case has not erected insurmountable bars to recovery.

             The chapter 7 bankruptcy case was administratively insolvent at closing,                             See,

 Memorandum in Support of Trustee’s Final Report filed November 25, 20-09 [Doc. #291].

 Administrative expenses were paid at approximately 50%. Substantial administrative expenses

 remain unpaid in full. For example, Trustee’s counsel is still owed over $26,000.00, Id. If the

 Debtor makes any recovery on the alleged claims and assets, most, if not all, of the net recovery

 would go first to pay the unpaid chapter 7 administrative expenses4. It is highly unlikely that any

 of the questionable assets asserted by Movant could be liquidated to render the chapter 7 estate

 solvent, and to pay priority claims for which Granata may have personal liability.

             Moreover, the record indicates that Unizan was a secured creditor of Debtor. It was the

 Plaintiff in the Foreclosure Case. It apparently consented to the use of proceeds of the sale of the

 Condo, presumably part of its collateral, to pay a portion of the costs of the receivership. It was

 then required to pay the balance of the awarded fees and costs, See, Exhibit A-14. Unizan also

 agreed to a carve out from its collateral for the benefit of the estate when the business was sold. If

 this case is reopened and the Agreed Entry in Common Pleas Court is vacated, there is a probability

 that any recovery will be from proceeds of Unizan’s collateral, which it may be expected to claim.

             For these reasons, Granata will not benefit from reopening the case, so the Granata Motion

 should be denied.

            III.         Conclusion

             Movant concedes in her brief that the decision to reopen a bankruptcy case is left to the

 sound discretion of the bankruptcy court after consideration of the equities of each case,


 4
  Trustee also has substantial doubt that experienced counsel will come forward and agree to pursue the dubious
 claims on a contingent fee basis, which is the only available fee basis.


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 Mendelsohn v Ozer, 241 B.R. 503, 506 (E.D.N.I. 1997). A bankruptcy court recently denied a

 motion to reopen a bankruptcy case so that the Debtor could avoid judicial liens when the request

 was made 7 years after the bankruptcy case was closed. In doing so, the court observed:

             “[T]he Debtor did not point to any decision involving a bankruptcy case reopened
             7 or more years after it was closed. There are such cases…[citation omitted], but
             they are the exception by far, and not the rule. There is good reason for that. In the
             context of lien avoidance under §522(f), there would be significant difficulty
             litigating, 7 years after the fact, the types of questions that often arise. For example,
             there would substantial hurdles in 2016 where creditors who wanted to challenge
             the Debtor’s valuation of his residence as of November 2008. The same is true
             with respect to the Debtor’s claimed exemption in the residence…[citation
             omitted]. The sum of unfair prejudice to creditors and unreasonable delay by
             the Debtor is laches, and laches is a basis for denying a request to reopen a
             case,

             In Re Paul James Lovell, Jr., Case No. 08-11204, United States Bankruptcy Court for the
             District of Maine, May 11, 2016 [copy attached] (emphasis added).

             If this case is reopened, to describe future litigation difficulties as “substantial hurdles” is

 an understatement. Trustee has recently interviewed Dennis Morrison, counsel for Unizan in the

 Foreclosure Case, and John Stamatakos, Granata’s counsel in that case. Neither of them has any

 recollection of what transpired in the Common Pleas Court in respect of the sale of the Condo.

 Both report that their files relating to the Foreclosure Case no longer exist. To the extent that

 Granata’s Motion raises questions about the state court proceedings, pertinent or not, there is a

 lack of evidence from the available record to answer those questions.

             The circumstances in this case require that Granata’s Motion be denied. The case should

 not be reopened because Granata neglected her rights and duties during the chapter 11 phase of

 the case when she had ample time to address issues related to the receivership and sale of the

 Condo. Moreover, there is virtually no chance of any economic or other benefit to Granata if the

 case were to be reopened. Therefore, to do so would be inequitable and wasteful.




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                                              CERTIFICATE OF SERVICE

         THIS IS TO CERTIFY that a copy of the foregoing Objection was sent electronically or by ordinary
 United States mail, as shown below, to the following listed persons, on July 14, 2016.

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                                                      /s/ Larry J. McClatchey______________________
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